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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No.: 21-CR-119 (CJN)
               v.                             :
                                              :
GARRET MILLER                                 :
                                              :
                          Defendant.          :


                      GOVERNMENT’S NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to Assistant

United States Attorney, Victoria A. Sheets, is terminating their appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will remain

counsel for the United States.



                                                     Respectfully submitted,

                                                     Edward R. Martin Jr.
                                                     United States Attorney
                                                     DC Bar No. 481866

                                                     Sincerely,

                                                     /s/ Victoria A. Sheets
                                                     Victoria A. Sheets
                                                     Assistant United States Attorney
                                                     NY Bar No. 5548623
                                                     U.S. Attorney’s Office for the District of
                                                     Columbia
                                                     601 D Street, N.W. Washington, D.C. 20530
                                                     Office Tel.: 202-252-7566
                                                     Email: vsheets@usa.doj.gov
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                               CERTIFICATE OF SERVICE

       On this 31st day of January 2025, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.


                                                     /s/ Victoria A Sheets
                                                     Victoria A. Sheets
                                                     Assistant United States Attorney
